               Case 24-11728-pmm                Doc 10         Filed 05/21/24 Entered 05/22/24 07:32:47                                          Desc Main
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 Fill in this information to identify the case:
 Debtor name Philadelphia Orthodontics P.C.
 United States Bankruptcy Court for the: EASTERN DISTRICT OF                                                                                 Check if this is an
                                                PENNSYLVANIA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 American Express                                    Small Business                                                                                              $40,098.24
 P.O. Box 981535                                     Credit Card
 El Paso, TX
 79998-1535
 Bank of America           Tia Powell                Small Business                                                                                              $31,135.09
 PO Box 15019                                        Credit Card
 Wilmington, DE            tia.powell@bofa.co
 19886-5019                m
                           800-360-0667 Ext
                           5900
 Bank of America           Tia Powell         Secured Business                                              $83,807.52                  Unknown                          $1.00
 P.O. Box 5270                                Credit Line
 Carol Stream, IL          tia.powell@bofa.co
 60197                     m
                           800-360-0667 Ext
                           5900
 Bank of America           Tia Powell         Small Business                                                                                                   $101,261.82
 Small Business                               Credit Card
 Credit                    tia.owell@bofa.co
 PO Box 15019              m
 Wilmington, DE            800-360-0667 ext
 19886-5019                5900
 Biz2Credit                Onkar Singh        Merchant Cash    Contingent                                                                                      $333,125.00
 c/o Itria Ventures,                          Advance          Unliquidated
 LLC                       onkar.singh@itriav                  Disputed
 1000 N. West St.          entures.com
 #1200                     646-569-9155
 Wilmington, DE
 19801
 Clarion Financial                                   3D Printers                                            $28,526.52                        $0.00                      $1.00
 295 CenterPoint
 Blvd.
 Pittston, PA 18640
 Clarion Financial                                   X-Ray Machine                                          $91,364.20                  Unknown                          $1.00
 295 CenterPoint
 Blvd.
 Pittston, PA 18640


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 Debtor    Philadelphia Orthodontics P.C.                                                            Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Forward Financing,                                  Merchant Cash             Contingent                                                                        $58,083.50
 LLC                                                 Advance                   Unliquidated
 36 Broomfield St.                                                             Disputed
 Second Fl.
 Boston, MA 02108
 Fourteen Twenty                                     Rent Arrearages                                                                                             $25,300.00
 Associates, L.P.
 100 S. Broad Street
 Suite 1300
 Philadelphia, PA
 19110
 Hill, Barth & King,                                 Accounting                Unliquidated                                                                        $9,218.15
 LLC                                                 Services                  Disputed
 2564 Brunswick
 Pike
 Lawrence
 Township, NJ 08648
 Internal Revenue                                    Federal Income            Unliquidated                                                                              $0.00
 Service                                             Tax on Business
 PO Box 8669                                         Earnings
 Philadelphia, PA
 19162-8669
 Invisalign                                          Trade Debt                                                                                                  $59,346.58
 c/o Align
 Technology
 410 North
 Scottsdale Rd.
 Tempe, AZ 85288
 Parkview Advance    Albert Diaz                     Merchant Cash             Contingent                                                                        $40,098.25
 600 Summer Street                                   Advance                   Unliquidated
 Suite 204           albert@tritonrecov                                        Disputed
 Stamford, CT 06901 eryllc.com
 Pennsylvania                                        Income Tax on             Unliquidated                                                                       Unknown
 Department of                                       Business
 Revenue                                             Earnings
 Department 280406
 Harrisburg, PA
 17128
 Philadelphia                                        Municipal Taxes           Unliquidated                                                                       Unknown
 Department of
 Revenue
 1401 John F.
 Kennedy Blvd.
 Philadelphia, PA
 19102
 Rapid Finance                                       Merchant Cash             Contingent                                                                        $50,731.45
 4500 East Highway                                   Advance                   Unliquidated
 6th Floor                                                                     Disputed
 Bethesda, MD 20814




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